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IN THE UNITED STATES DISTRICT COURT

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UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 05~20255~Ml

DAVID PARI SH

Defendant.

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ORDER ON CHANGE OF PLEA

 

This cause came to be heard on September l, 2005, the United States
Attorney for this district, Joseph Murphy for Stephen Parker, appearing for
the Government and the defendant, David Parish, appearing in person and with
counsel, T. Clifton Harviel, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty as to Count 1 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for FRIDAY, DECEMBER 2, 2005, at 9:00
a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the 62 day of September, 2005.

.,`Q. M'OM

JO PHIPPS MCCALLA
TED STATES DISTRICT J`UDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20255 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Stephen C. Parker

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Honorable J on McCalla
US DISTRICT COURT

